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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS


DAMILARE SONOIKI,

             Plaintiff,

     v.
                                       Civil Action No. 1:19-cv-12172
HARVARD UNIVERSITY, HARVARD
UNIVERSITY BOARD OF OVERSEERS,
and THE PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,

             Defendants.


 DECLARATION OF PATRICK D. MCKEGNEY IN SUPPORT OF DEFENDANTS’
              MOTION TO DISMISS THE COMPLAINT
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       I, Patrick D. McKegney, declare:

       1.       I am an attorney at the law firm of O’Melveny & Myers LLP, attorneys of record

for Defendants in this matter. I am licensed to practice law in the State of New York. I was

admitted pro hac vice in this matter. I sumbit this declaration in support of Defendants’ Motion

to Dismiss the Complaint. I have personal knowledge of the following facts.

       2.       Attached hereto as Exhibit A is a true and correct copy of one of the

Administrative Board of Harvard College’s Subcommittee Reports issued on November 19,

2013. Exhibit A is filed under seal to protect the privacy and confidentiality of the students

involved.

       3.       Attached hereto as Exhibit B is a true and correct copy of one of the

Administrative Board of Harvard College’s Subcommittee Reports issued on November 19,

2013. Exhibit B is filed under seal to protect the privacy and confidentiality of the students

involved.

       4.       Attached hereto as Exhibit C is a true and correct copy of one of the

Administrative Board of Harvard College’s Subcommittee Reports issued on November 19,

2013. Exhibit C is filed under seal to protect the privacy and confidentiality of the students

involved.

       5.       Attached hereto as Exhibit D is a true and correct copy of the October 16, 2014

letter to Damilare Sonoiki notifying him that his appeals were denied. Exhibit D is filed under

seal to protect the privacy and confidentiality of the students involved.

       6.       Attached hereto as Exhibit E is a true and correct copy of the October 16, 2014

letter to Damilare Sonoiki notifying him that his appeals were denied. Exhibit E is filed under

seal to protect the privacy and confidentiality of the students involved.



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I declare under penalty of perjury that the foregoing is true and correct.

Executed on December 20, 2019 in New York, New York.



                                                      Patrick D. McKegney




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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants on December 20,

2019.

                                                   /s/ Anton Metlitsky
                                                   Anton Metlitsky (pro hac vice)




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